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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
5    Attorney for Defendant
     STACEY MISTLER
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7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    ) Case No. 2:13-cr-165 TLN
11                                                )
                      Plaintiff,                  ) STIPULATION AND ORDER CONTINUING
12                                                ) STATUS CONFERENCE
            vs.                                   )
13                                                ) Date: June 26, 2014
     STACEY MISTLER and CHARLES                   ) Time: 9:30 a.m.
14   CONNOR,                                      ) Judge: Hon. Troy L. Nunley
                                                  )
15                    Defendants.                 )
                                                  )
16
             The United States of America, by and through Olusere Olowoyeye, Assistant United
17
     States Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon,
18
     Assistant Federal Defender and defendant, Charles Connor, through his counsel, Linda Parisi,
19
     agree to vacate the status conference date of May 15, 2014 and set the status conference for June
20
     26, 2014 at 9:30 a.m. for the following reason:
21
             The reasons for the request are to allow defense counsel to review discovery, for defense
22
     preparation and for meetings between the parties with the goal being to resolve the case by way
23
     of a disposition.
24
             The parties agree that the Court should exclude time from computation under the Speedy
25
     Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to
26
     provide defense counsel with the reasonable time to prepare, and that the ends of justice to be
27
28

      Stipulation to Continue Status Conference                            U.S. v. Mistler, et al., 13-cr-165 TLN
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1    served by granting the continuance outweigh the best interests of the public and the defendant in
2    a speedy trial. The exclusion of time is from May 7, 2014 until June 26, 2014.
3
                                                   Respectfully submitted,
4
5    Dated: May 7, 2014                            HEATHER E. WILLIAMS
                                                   Federal Defender
6
7                                                  /s/ MATTHEW C. BOCKMON
                                                   MATTHEW C. BOCKMON
8                                                  Assistant Federal Defender
9                                                  Attorney for Defendant
                                                   STACEY MISTLER
10
11   Dated: May 7, 2014
                                                   /s/ Matthew C. Bockmon for
12
                                                   LINDA PARISI
13                                                 Attorney for Defendant
                                                   CHARLES CONNOR
14
     Dated: May 7, 2014                            BENJAMIN B. WAGNER
15                                                 United States Attorney
16
                                                   /s/ Matthew C. Bockmon for
17                                                 OLUSERE OLOWOYEYE
                                                   Assistant U.S. Attorney
18                                                 Attorney for Plaintiff
19
20                                                ORDER

21           Based on the reasons set forth in the stipulation of the parties filed on May 7, 2014, and

22   good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT

23   IS HEREBY ORDERED that the status conference currently set for Thursday, May 15, 2014, be

24   vacated and that a status conference be set for Thursday, June 26, 2014, at 9:30 a.m. The Court

25   finds that the ends of justice to be served by granting a continuance outweigh the best interests of

26   the public and the defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED that,

27   for the reasons stated in the parties’ May 7, 2014 stipulation, the time within which the trial of

28   this matter must be commenced under the Speedy Trial Act is excluded during the time period of

      Stipulation to Continue Status Conference                              U.S. v. Mistler, et al., 13-cr-165 TLN
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1
     May 7, 2014, through and including June 26, 2014, pursuant to 18 U.S.C. §3161(h)(7)(A) and
2
     (B)(iv) and Local Code T4.
3
     Dated: May 8, 2014
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6
                                                      Troy L. Nunley
7                                                     United States District Judge
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      Stipulation to Continue Status Conference                        U.S. v. Mistler, et al., 13-cr-165 TLN
